                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
         Plaintiff,                                   )       Case No.: 3:14-cr-00100
                                                      )       Judge Sharp
v.                                                    )
                                                      )       Case No.: 3:14-MJ-3266
WILLIAM DANIEL NAVARRETE,                             )       Magistrate Judge Bryant
                                                      )
         Defendant.                                   )
                                            $0(1'('
                      ORDER FOR REASONABLE TRAVEL EXPENSES
                       AND SUBSISTENCE TO ATTEND DEPOSITION

         The Court being advised that the United States has scheduled depositions of material

witnesses in this matter for July 29, 2014, and that the defendant, William Daniel Navarrete, is

indigent and without funds for travel from his residence in Houston, Texas to attend said

depositions and return to Houston, finds that the interests of justice require and the United States

Marshal is directed, pursuant to Fed. R. Crim. P., 15(d), to furnish William Daniel Navarrete

with the reasonable travel expenses and subsistence to travel from Houston, Texas to Nashville,

Tennessee on July 28, 2014, and return WR+RXVWRQ



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